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                                 A

   TREATISE
                           OF THE


        P L E.A S
                          OF THE



C ROW N:
                            ORA

S Y S T E M of the Principal Matters relating to that
   SUB J E C T, digefted under their proper Heads.




                    BOOK                     I.
  By W ILL I J1 M. H if W KIN S,
        of the Inner- 'Temple, Efq;.


                       In the S A V 0 T,
Printed by <flt3. ~utt) (Executrix of jJ. Jautt, Affignee
  of Edward Sayer, Efg;) for jJ. Willtuoe in the Middle-
  Temple-Cloyflers; and jJ. ~altUoe) jun. againft the
  Royal-Exchange in Cornhill. I 7 I 6.
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                                              Of llffrays-           Book 1.
  1 Keb. 91r. one's Fifl: at him, or by any other fuch like Ad done)n an angry
 !O~'40,3. threatening Manner; and from hence it clearly follows, T~rat one charged
  4; Ed 3~.7'~' with an Aifault and Banery, may be found guilty of t(1,\ former, and
  24· b. 2). a. yet acquitted of the later.      But notwithfianding the man~lrient Opi-
  22 AfT. 6 0 . .            h             . fc
 :tR.A.54;. mom; to t e contrary, It eerns agree d at tuS                1 no W'or dswat-
                                                               l' Day, tlac              h'
 PI. 1,2,3.4, foever can amount to an Alfault.
  ;~ ~~~:I.I1.      Sell. 2.. As to the {ccond Point, viz. What ~haII be fa!d to be a Bat~
 Pult. j.        tery, It feems that any Injury whatfoever, be It never £0 fmaU, being
 Lamb. u6. aduaUy done to the Perron of a Man, in an angry ocrevengeful, or
                                                                         J


 6 Mod. 149, rude, or infolenr, Manner, as by Spitting in 1us Face, or any Way
 171.            touching him in Anger, or Violently junling him out of the Way, are
                 Batteries in the Eye of the Law: l.)ut it is {aid to be no Battery to Jay
                 one's Hand gently on another whom an Officer has a Warrant to arreCt,
 2 R. A. 546 .   and to tell the Officer that this is the Man he wants.
 P1 1,1.           .Sefi. 3. As to the third Point, viz. In what Cafes an AiT.1ulc and
                 Battery may be jufiified, this is fo fully fet forth already in the Chapter
                of SlIrety of the PetlCe, that there feems [0 be no need of any fanher Con-
                fide ration thereof in this Place; and therefore I fhall only add, lhat
                 where a Man in his own Defence beats another who firU affaules him, &c.
                he may take an Advan~age thereof upon an IndictmeO[~ as well as upon an
 6 Mod. 172. ACtion; but with this Difference, that in the firU Care he may give it in
                Evidence upon the Plea of Not guilty, and in the later he mun plead
                it fpecially.
                    Se61. 4. As to the fourth Point, viz. How unlawful Alfaults and
                Batteries are puniilied, there is no doubt .hue, that the Wrong doer is Sub-
                jed, both to an ACtiQn at tlie Suit of the Parcy, wherein he fhall ren-
                der Damages, &c. and alfo to an IndiCtment at rl~e Suit of the King,
                wherein he lhall be fined according to the Hcinoufneis of [he Offence.




                                      C HAP.           LXIII.
                                              Of Affrays.
                IN    treating of Affrays, I lhall confider,

                      I.What fhall be raid to be an Affray.
                        How far ic may be fupprelfed by a private Perron.
                      2..
                     3. How far by a Confiable.
                     4. How far by a Juftice of Peace.      ..
                      s.In what Manner the feveral Kinds of Affrays may be punHhed.
                    Scll. J. As to the firfi Point, it is raid, That the word Affray is de-
3 Inti, J 58.
paIt. ca. 8.    rived from the French w,ord. Etf!aier, to terrify, .and thac in a legal Senfe
                jc is taken for a pubhck Ottence, to the Terror of the People, from
                whence it feems clearly to follow, That there may be an Afi'au/t which
Lamb. 125,      will not amount to an Affray; as where it bappens in a private Place,
126. "          out of the hearing or feeing of any, except the Parties concerned ; in
                which Cafe it cannot be faid to be to the TerrQ~ of the People; and for
                                                                                         thi~
                            3
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Chap.6j_                               Of 4lfrays.
this Caure fllCIl a private Aifault feems riot to be inquirable in a Court- 4 H.6. 10.••
Leer, as all Affrays certalnly are, asheing cO,mmon Nufances.                   .    . 8 Ed. 4· 5· b.
     Sea. 2. Alfo it is faid, Thar no quarreliome or threaten,ing Words H. P. C. IH·
whatfoever fball amount to an Affray; and that no one can J'ufbfy lay- llE              Dal. ch+-H·b.
                                                                                                   8.
ing his Hands on thofe who fball barely quarrel with angry Words, Lamb Con-
Without coming to blows; yet it feemeth, That the Confiabic may, at ftable 14·
the Requdl: of the Party threatened, carry the. Perfon wbo threatens to
beat him before a Jufiice of Peace, in Order to find SuretieS.
     Sea. 3. Alfo it is certain, That it is a very high Offence to challenge Poph.                158.
                                                                                        3 IIIn:. 15 8 .
another, either by Word or Letter, to fight a DueJ, or [0 be the Mdfen- I Sid. 186.
ger of fuch a Challenge, or even barely to endeavour to provoke ano- I Kt:b. 694'
ther [0 fend a Challenge, or to fight, as by difperftng Letters to th~1C Hob.           "15·
                                                                                                 IlO,


purpofe, full of ReAechons, and infinuating a Defire to fight, .&c.                     "Ro1.Ab. 7 8.
     Sec1. 4. But granting that no bare Words, ill the JUdgmCnt of Law,
 carry in them fo much Terror as to amount to an Affray; yet it fecms
certain, That in fome Cafes there may be an Affray where there IS no
 adual·Violence; as where a Man arms himfelf wirh dangerous and un- Lamb. 126.
 ufual Weapons. in ruch a Manner as will naturally calife a Terror ro [he 3 I nIl.            n. I 6 o.
 People, which is faid to have been always an Offence at Common Law~ 76 D.
 and is firid:ly prohibited by many ~[atu[es: For by 2 Ed. 1. 3. it is cn- ~1~l.Ab'78.
 aCted, That no Man, greAt nor fmalt, .of what Condition flever he be, except H P. C. 137.
 the King's Servants, in his Prefence, and huMini/iers in exectlting of the King's
 Precepts, cr of their Office, And foch 'It/ be ,in their Company aj/ifling them, and
 "ifo upon II Cry made for Arms to keep the Peace, and the fame in fuch Pldcer
 'Where filCh Aas hAppen, be fo hardy to come before the King's JuJlices, or other
 of the Kinls Mil1ifters doing their Office~ with Force lind Arms, nor bring m
  Force in AffrAY of Peace, nor to ,go nor ride armed by Night nor by Day, in
.FAirs~ Markets, nor in the Prefence Df the Jllftiees or other fl1im{lers, 110r in no
 part el/ewhere, upon pain to Jorfeit their Armour to the King. and their Bodies
 10 prifon, at the King's PleA/lire.   And that the King's Juftices in their Prefnce,
  Sheriffs, And other Minijlers in their Bailiwicks, LaId.! of Fr4n'ch fes, and thdr
  Baittjfs in the fame, and Mayors and Bailiffs of Cities and Boroughs, within the
  fame Cities and Boroughs, anti Borough- holder s, ConflaUes and Wardens oj the
   Peace within their J;V ards, fl~1i have Power to execllte this Ac7: And th4t the
  Juftices ajigned, at thtlr coming down into the Country, }hali have Power to en·
  quire how Iuch Officers an,d Lords have exercifed their Offices in this Cllfe, Imd to
  ll1nifb them whom they find, that have not done that which pertained to their
   Office; and this ~tatute is farther enforced by 7 Rich. 2.. 13. ami
   20 Rich. 2;. I.
      And in the Expofttion of it, the following Points have been holden:
      Sea. s. J. That any Jufiice of Peace, or other Perfon, who is im· F. N. B. ~"9.
   powered to execute this Statute, may proceed thereon, either ex Officio,
   or by Force of a ·Writ. out of Chancery formed upon the Statute, and D~I.             3 Tnfi. r61.
                                                                                                 ch. 11.
   that if he find any Perfon in Arms contrary [0 the Form of the Statute, he Lamb. 16S,
   may feize the Arms, and commie the Offender [0 Prifon; and that he &c.
   ought alfo to make a Record of his whole Proceeding, and certify the fame ::Dalif.              13.
                                                                                            Bulf.33 0 •
   inw the Chancery, where he proceeds by Force of the faid Writ, or into
   the Exchequer, where he proceeds ex Olicio.
      Sell. 6. II. That where a Jufiice of Peace, &e. proceeds upon the Cro. El. 29 ...
   raid Writ, he may not only imprifon thofe whom he 1hall find offending Con.            17 0 .
                                                                                                  Lamb.

   againfl: rhe Statute in his own View, but alfo thofe who {ball be found
   by an.lnquefi: taken before him, to have offended in fuch Manner in his
   Abfence ; and 1 do not fee why, he may not do the fame where he pro-
   ceeds ex Officio; for feeing the raid Writ hath no other Foundation but
                                                                                    the
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                                                 or Affralf.
                                                         . .                                   Bookt.
                       dle faid Statute, and is the moil authcntiok. E)(plication ther.eof, it feem ..
                       cth that rhe Ruaes therein prcfc;ribed, Ihould be [he bcfl: Direction fQ[ all
                       .Proceedings UpOl) that Statute.
    .Cro. E.l. 294·        Sell. 7.- HI. That the Und.er~Slleriff.may exeCll.ce the raid \1hit, lhejng
                        direered to .the Sheriff, if it name .him ,onJy 'by the Name qf hi5 Ofijc.;e~
                        and not by .bis .proper Name, and do n~exprefiy .command l1im to
                       a.d lio. his ;propel Perlon.             '
     24 Ed .3p·b.          Sea. 8. That.a Man ,cannot ,excu[e the wearing ruch Armou.r in Pub..
     2IH·7·39. 3 • lie:k, by a.1Je.dgingthat fi~oh a one thr.eatened him, and .dlat 1le wears
    3 Inft. I(i'r,
    J62.               ir for rhe Safctyof.hisPerfon fro.tp his AiTautt; bur it h~ch been refoJved,
    Coo. 2. Ro]. Tba.t noonc fhall incur the Pella'l,ry of the :Caid S~tute for a.tTembling his
    78. d.      '
    :l!'H. 7. 39.a. Neigbbours .~nd Friends in his own Hou/u:,aga,inJl d;lOfe who 'duea,ten .(0
  1 Inll. 162.        do him any Violence ther.ein, J:>ecauiC a Man-'s Houfe is as his C;lfile.
                          s~a. 9. . V. That no wearing of Arms is within the QlCanin$ .of chis
    3 Mod. 117.
    118.              Statute, unlers it be ac,compan!i.ed Wjdl fuch Circumftanc.cs as are apr to
    2.1lulft. 33(;). terrify rhe People; from whence it [e,ems .dead:Ylo follow, That l?erf.ons of
                      ~.ality are in no D;JngerofOife.l1ciing again6: .this St;Ilt,l.te by ,wearing
                      common Weapons, Dr haN:i.ng tbeir ufiJ.al ij,ulllber of Anendams with
                      them, for their .Ornament or Defence, in fuell· Places, .an.'ii 'upon fqchOc!"
                      cafio;l1s, in which it is ,the common fail1i.on .to mak.e .ufe of them, without
                      cau{igg the leafr SuJ.}>ic.ion of an {nrenti~n ro commit ;lny AQ of Vio-
                      lence or Di(turbi;1Jl.G<! of the Peace. i}.nd {rom [he fame ,Ground it alfo
                      foHows, Tbat Per[Q~ ar.Olt;:d .wirh privy Coats of Mail [0 (he Intent t<>
   Crom. 6 . a. dcfcndt:bem{e:ves againfr their Aclvcrraries, are. no~ within the Meaning
              4

                      of this S[.~tutel becall«~ :they do no:tlh~B.g in J'Jr'frein . Ffl/JIlJi.
                          SeCI. rQ. VJ. Tha! no Pei[on is within rhe In~enUon of .the [aid Statute,
   Poph. I l l ,      Wh9 arms him[e1f t.O :fup,pr.eCs Riot~ts~ReheL~~ .or· Enemies,.and enclea-
   Ill.
                      VOU,r$ ~q f!Jpp.refs or refiil fuch D_ifturl\ers of die P.cace ,or ~.ie[of ,the..
                      Realt)1; ,[QtP~rfQus. WI}W (0 arm the.illf~lv.es, teem .to be exempted out of
                      the KeJ\cr 41 WW,ds 1# ~ (h~ faidS[nl~te, by'that Pare of ;l.heE.x.cep!ion iii
                      tbe :b~ginnjng ,thereof, wJlicb feems .toal·Low all Fer,fon.s to arm t~emrelves
                      upo" a <=ryma.d.c i~ Arms [0 keep the Peacc in fuch PI~e.s ,where fuc:b
                                                                        1

                      Acts Jl·f:lppcn.
  Lamb J31.           .   Sea. I I . A$ ro ,thefc.cond Point, viz. How far an Aff.i:a.y llJay ,be
   3 {nil. 'SS. fupprel1{:<;J ,by -3 private !?er.[on, ir [eC.IllS agreed, ,lllat anyone who fees
  H,P.C,qI.
   2 ill{}. p.        Qthq;s ,!~'b,(il)g, may 1,~wflllly p3trt them, ana ablt\) iay them 'liB {he Heat be
   2lE'4 H.b. over ,and .,then deliver .them co cbeConfiable, who ma.y !rt;lpcii.O.nthem -rill they
  D.Jt. cap. 8. find S~<;[y for the P~ace ;a1.[o it is faid, Tt1at(.lO'Y .priya[e~eJf(j.n may fiop
  Lamb 13I.
                     thofe whom he fhall fce coming ro join either Parry; and fc,om hen.c;:e it
                     feem,s cle.o)rl y ,[0 fo~lQw, Tbac if a Ma.tl1 r.ec.eiy,e a Burcuom .either Par.ry in
                     thus ~ndeavqudflg .to preferve File Peatc,he fb,llhavc bis &emc8Y b:y all
                     4CJion a,gajnn ,h}l}); .aaoupoJl~l\C fame Ground it fe.ems equaJJy rea;-
  3 Inll. 13 S. fonabI.e, That if he unavoidably happen to. b.urteitber Party, in thus
  Con: La,r;nb. dqing what -the l,.a\w ·borhaUow.s and cOllllilllends,: be may wdl j1ufii(y.ie,
   q 1.
  D~lt. cap 8.
                     inaiin-q<rh£: OIS h~
                                       db
                                           is ~lQ Way in Fault; and [he [)a.w.~O'e -e
                                                                                          doone ro the ocher,
                     was occ.qnone· y a lau.dable Intention to do him a Kmdllefs. . .                       ,
                         ,);el!. 171. Ho!veyer it feems dear, TJla.t if Ciiither Parry ,be dagge-
 Lamb 13 r:          roufly wO,unded In {uch an Affray~ and a Stan(iler-hy, ende.avopring ,to ar ..
 DdJr. c«p. 8. rcft [he ocher, be not able to take lum without hUlting, o.r ,even wOUJJd·
 3 lnll. 15 s.
 TIro. F~ux         iJlg him, yef -he is no Way liabJe £0 be puni1hed for the fame, in~much as
Imprifon-           he is .bound undeJ' .pain of Fine and Irupri[onment, ,to arreflAuch an Of-
rnent 35, 44.
HP,C·135.
                    fender, and eirhcr det.ainbWriJI it appear wherhe.r.the Party wiJl live or
 10 H. 7. 20.       dl.~, or ea.rry him bdorea J.w:1a:iG~ of fcace, by whom be eitber is .to .be
.J. Infl'. ~ l.     ball.cd.,or ,com.mLtt~dJ Oe.
                                       3
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Chap.61.                               Of AJfray .
    Stll. r 3. As co the third Point, viz. How far an f1'ffiay may be fup-
pretTed by a Confiable; it feems agreed, That a Confiable is not only
impower'd, as all private Perfons are, [0 part an Affray which happens in lln/}. 158.
his Prefence, but is alfo bound at his Peril to ufe his beft Endeavours co H.       ~.C.IH.
                                                                                Lamb. 132,
this Purpofe, and not only to do his utmoll himfClf, but alfo to demand lB·
the Aillfiance of others, which if they refufe to give him, they are pu- Dalt.cap.8.
nithable with Fine and' Imprifonment.                                           3 H. 7. lo.b.
    Self. 14. And it is faid, "1 hat if a Confiable fee Perfons either adual-
1y engaged in an Affray, as by Striking, or offering [0 ftrike~ or drawing Lamb 1)2,
their Weapons, &c. or upon the very Point of entering" upon an Affray, IH.
as where one ih~ll threaten to kill, wound. or beat another, he may ei- Dale. ca. 1,8.
ther carry the Offe'nd~r before a Jufiice of Peace, to the End that fuch' H. P. C. q6.
Jufi:ice may compel him [0 find Sureties for the Peace, &c. or he may DaIr.cap I,a.
imprifon hIm of his own Authority for a (eafonable Time, till the Heat: Bro. Surety,
:ihail be !over, and alfo afterwards detain him till he find fucl~ Surety by ~~;r~'l84'
Obligation: But it feeins, That he has no Power to imprifon fuch an Pl. 43 6 .
Offender in any other manner, or for any ocher Purpofe; for.he cannot ~l~d4·.~/b
jufiify the committing an Affrayer to Gaol till he {hall be puniflled for his~: 10 Ed\ IS.'
Offence: And it is raid, That he ought not to lay Hands on thofe, who §H,·t 6. a.
barely contend with hot Words, without any Threats of perfonal HutC, iV1. 97,9 8•
and that all which he can do in fuch a Cafe, is to command them under
Pain of Imprifonment to a void Fighting. ~
                                                                                ~ H. 7. 6. a.
    Sell. I). But he is fo far intrulled with a Power over all adual Af- H.P.C.136.
frays, that though he himfelf is a Sufferer by them, and therefore liable IRol.Re.238.
to be objcded againft, as likely to be partial in his own Caure, ! yet he 2 Bulft. 3'9.
may fupprefs them; and therefore, if an Affault be made upon him, he
 may not only defend himfclf, bue alfo imprifon the Offender, in the fame
 manner as if he were no way a Party.                                           I) Ed.4· 9.a.
    Sea. 16. And if an Affray be in a Houfe, ,the Confi:ahle may break 7 Ed.3.)2·b,
open the Doors to preferve the Peace; 'and if the Affiayers fly to a Houfe, Dale. cap. S,
and he follow With frefit Suit, he may break open the Doors to take 67·         Lamb 131,
them.                                  "                           ,            134·
    SeC/. 17. But it is faid, That a Confiable hsth no Power [0 arrefia H.P.C.I)).
 Man for an Affray done out of his own View, without a Warrant from a Cro.           EI. 37S',
                                                                                O\\'~n 10,.
Jufiice of Peace, unids a Felony were done or hkcly to be done; for it H. P.C. 136.
is the proper Bufinefs of a Confiable ro prefe~vethe Peace, nor to punifh H.P. C. 92.
 the Breach of it; nor does it follow from his having Power to compel
 thofe to find Sureties who break-the Peace in his Prefence, that he has the
 fame Power over thofe who break it in his Abfence, inafmuch as in fuch
 Cafe it is moil: proper to be done by thofe who may examine the whole
 Circumftances of the Matter upon Oath, which a Confiable cannot do;
 yet it is raid, That he may carry thofe before a Jul1ice of Peace, who Lamb, '3 ,.
                 I


 were arrefied by filch as were prefent at all Affray t and delivered by Delle.cap.8.
 them into his Hands.               . ."'
    SelJ. 18. As to the fourth Point, viz. In what manner an Affray may
        r


 be fuppretfed by a ,ufiiee of Peace; there is no doubt, but that he may
 and mufl: do all ruch Things to that Purpore. which a private Man or H.P.C·136.
 Confiable, are either enabled, or required by the Law to do: But it is Dalt.cap.8.
                                                                                Bro. falfe 1m-
 faid, That he cannol: Without a W'arrant authQrize the Arrefi of any Per- prifonmenl
 fon for an Affray out of his View; yet it feems clear, that in ruch Cafe he 6.12, H.
 may make his Warrant. to bring the Offender before him, in order to Moore       t4 H . 8 ·1.
                                                                                         1-~I.
 compel him to find SlJrettes for the Peace.                                     PI. HI.

                                            No                               Sell.
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                                        Of Afrays.
                                            I
                                                                               Book I.
              SdJ. 19-        Alio'it [eerns, That a Jufiice of Peace has a greater P~we~
              over one who hath danger9ufiy wounded another in an Affray, than either
               a private Perron or a Confi:ab1e; for there does not feern to be any good
S!e;8 Ed. 3. Authority, thatthefe llave any Power at all to take Sureties of f~ch an
6.b. 7. ~.
:l:l AIf. S6. Offender: but it feerns certain, That a Jufiice of Peace has a di[eretlonary
5 Mo~. 84' Power either to commit him or to bail him, till the Year and Day be
               pail ; but it is faid, that he ought to be very cautious how he takes Bail,
H.P.C.3 6. if the WO\lud be dangerous; for that if the Party die, and the Offender,
Dalt. cap. 8.
POph.153.' appear not, he is in Danger of being feverely fined, if he fhaU appear up"
               on the whole Cir.cumfiances of the Cafe to have been too favourable.
                  Selt. 2.0.' As to the fifth Point, viz. In what manner the feveral kinds
               of Affrays are to be punHhed, it fufficiendy appears from the foregoing
               Part of this Chapter. how fuch Affrays as are accompanied with Force
               and Arms, are to be dealt with upon the Statute of t1orthllmptqn; and
               therefDfe I 'fhall only examine in this Place, what Penalties other Affiays
               are liable unto, as to which it is to be obfetved, That all Affrays in ge-
                neral arc punifhable by Fine and Imprifonmenr, the Meafure of which is
              : to be regulated by the Difcretion of the Judges according to the Circum-
               fiances of the Cafe, which very much vary rhe Nature of this Crime,
               and in fome Cafes make it fo inconfiderable as fcaree to deferve to be
                raken Notice of ; and in ochers, make it an Offence of a very heinous
                Nature, as in the following In1lances :
               I IIn Re[ped ·of the dangerous Tendency thereof.       '
               ~- In RefpeCt of the Perfons againil whom it is eommitttd.
               3. In a~pea of the Place wherein it happens.
               SeE}. 2.1.     And firll, An Affray may receive an Aggravation from the
              dangerous Tendency thereof, as where Perfons cooly and deliberately
POph.lq.      engage in a Duel, which cannot but be attended with the apparent Dan-
 3 Inn. 158. ger of Murder, and is not only an open Defiance of the Law, but car..
              ries with it a direil: Contempt of the Juftice of the Nation. as putring
 v Sid'. 186. Men under a Neceffity of righting themfelvcs ; upon which Confidera-
 J Keb. 694'
              tions. Perfons convicted of barely fending a Challengc, have been ad ..
              judged to pay a Fine of one hundred Pounds, and to be imprifoned,foc
Moore ;6),
r1. 763.      one Month without Bail, and a1fo to make a publick Acknow ledglllcnt
              of their Offence, and to be bound to their good B~.haviour.
                  Sea. 1.'1.. ~econdly, An Affray may receiv,e another Aggravation from
              the P\!rfops againU wbom it is committ,ed; as where the Officers ,of Jv.-
              ~ice are violently diUurbed in the due Execution of their Office, as by
              the Refeous of a Perron Jegally arreUed, or the bare Attempt to make
              filch a Refcous ; for all tbe Minifiers of the Law are under its more im-
              mediate ProteClion.                 ,
                  Sea, 2.3, Thirdly, An ARray may receive a farther Aggravation from
              the Place wbereip it i:$ cqmmitted, and upon this RefpeCl: all Affrays "in
              tbe King's CourtS arc fo feverely punilhed, as hath been fhewn already in
I I Co. lq,l. Chapter l. [, ,.n.d upon rhe fame ,I\ccount al[o, all Affrays in a Church or
J JCeb. 290,
49(.          Church-yard, have been always efi~~'med very heinous Offences, as
I Mod. 186.   being great Indignities to,the Di.vine MajeUy, to whofeWorfhip and Ser·
              vice fuch Places are immediacei y dedicated. And ~pon thiS Confideration,
              al1 irrevercQt f,lebaviour i,n thde Places hath been efieerned fo crirnina~ by
              the Makers of our Laws,thac they have not only feverely punilhed fuch
              Difiurbanees in them which are punitbable where-ever they happen, as
              all adual Am~ysl &c. but aHo fud1. whieb if they happen elfewhere,
                                  I                                                     are
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                                   Of 4lfrays.                                       139
are not \,unHhable at all; as bare quarrelrome Words, and even ruch which
would be commendable if done in another Place; as Arrelh by Vertue
of legal Procers: But for the better Underftanding hereof, I fhall confi-
der the feveral Statutes made for this Purpofe.
     Sec1. 2.4. And lirft, It is enaCted by ; and 6 Etl. 6. 4. That if any
Perfon 7l'hatfoever, /hall hy Wordl only quarrel, chiae, or brawl, in any (.'hurch
Dr Church-yard, that then it (halt be lawfol unto the OrJi»ary of the Place wbere
the fame Offence {hAll he done, and proved hy two la1lffol Witneffis, to fufpentl
every Perfon {o offending; that is to fay, if he be a Layman, ab ingrelIli Ec·
c1efix, and if he be a Clerk, from the !J.iniflration o/his Ojftce, for fo long lime
AS the fame Ordinary foal/, by his Difcretion think meet and convenient, ACcord·
ing to the Fault.
    .Sel1. "5' And it is farther enacted by the raid Statute, That if an1
 PerJon .IbaU [mite or lay any violent Handr upon any other. either in an, ChlU'ch
ofloCh.rch'yal'd; that then, ipf6 Fado, every Perfon (o offi1lding /haD be deemed
excommunicate, 4f)d be exclflded from the FeOowfhip and Company of Chrill's Con-
grlg~tion.                                                                  •
     ~elJ. 2.6. And it is alfo farther enaded by the rajd Scatute, That if aNy
 Perfon fla/t mAlicioujlJ flrike any P"fon with an, Weapon in any Church or
 Church-yard, or flalt draB' a"y Weapon in any ChHrch or Church-yard, to the
 Intent tD jlrike another with the fame Wedpon ; that then every Perfo1l fo offend-
 ing, and I hereof being cOl'lvitled ly Perdia of twelve Men t ,or hy his own Con-
 [effion, or hy t11'0 Illwfl~1 WitnejJes, before the Juflhes of A1!ize, Juflices of Oyer
 lind Terminer, or Juflices of Peace in their Sejisns, by Fi/rce of this dO, /hall
 he adjudged hy the fame Juflices before whom fitch Perfon /hall he c.onvitled, /1)
  ha ue one if his Ears cut off, ,&c. and befi.des that every fuch Ferfon to be, ana
 fla1ld ipfo FaCl:o excommunicated, as aforifaid•
      .And in the Expofition hereof it hath been holden:
      SeO. 27. J. That notwith11.anding the Words of the Statute be ex..
  prelfed, That he who fmites another in the Church, &c. thall, ipfo FAlJo,
  be deemed excommunicate; yet there ought either to be a precedent
  Convitl:ion at Law, ,which mull: be tranfmitted to the Ordinary, or elfe DYC:r:l7S.
  [he Excommunication mufi be d~cIared in the Spiritual Court .pon a pro- ~1. ... 8.
  per Proof of the <?ffence there; for it is implied in every Pe~al Law, r ~!n~·.'i:~:
  [hat no one fhall Incur rhe Penalry thereof, till he be found gUIlty upon Lit, r49·
  a lawful Trial; alfo it m~a ,be intended in the C:0~~~udion of t,his St,a- ~:~~'Jt I .
  cute, That the ExcommUnication ought [0 appear Juolclally, for otberwtfe                  9 9
  [here could be no Abfolution.
      Sell. 27. .11. That he wl~o 1hikes another in a Chur~h, &c. can no Cro.Ja. l 67.
   way ·excufe hlmfelf, by fhewlOg that the other aiTaulted him.
       sea. 2.8. Hf. That Church wardens, or perhaps private Perfons, 1 Saund, I},
  who whip Boys for playing in the ~hurch, or pull off [he Hats of rho~e Sid . 01.  :4
  WAO ob1hnately [efuCe to take them off themfelvcs, or gently lay their 3 Kc:b\l4'
  Hands on thofe who difiurb the Performance of any Parr of divine Ser.. I Mod. 168.
  Vice, and turn them out of the Church, are not within the meaning of
   the Starute.                                                         .
       SeO. 2.9. Alfo it i.s enaded by I Ma. Sea: 2. cap. 1. ThAt if any Per-
  Jon or Perio"s, of their .own Power and Amhority, jluUi willingly lind of Purpofe
  hy open and overt Word,' Fllll,Aif, or peed, ma/iciofljly ()r c()ntfmptll()lIjly moleft,
  let,· d!fiRrb, vex or trouble, or by IIny other unl4wfsl Wa.1J and Mfans, dijqfliet,
  "miJu(e, al)1 Prellcher '1llhu flUl/t be Ii&en-&ed, allo7Ped~ or IINth"izea to preach hy
  the ~een)s Higlmtfs, or I,.yany Archhi/hop, or Bi/hop of this Relllm, or by any
  other I4wfill Ordinary. or hy a1l1 of the CinivlTjities 0/ Oxford ana Cambridge,
  or ~therwift ''''"'fuO, al#bQri~ed or ,hArged, 1,., Re.foTi ~f his or ImiT·ellre, Bene-
                           ,                                                          jf{e,
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                         Of Forcible Entries and 'Detainers• Book r.
              .flee, or otlJ~r Spiritual Promotion or Charf.e, in an, of his, or their open Sermon.
                &c. or if any Perfon or Perfins flAJl 1IJAliGioujly, willingly, or of pNrpofe. moleft,
                let, dif/llrb, ve", aifquitt, or otherwife trouble any ParIon, VicAr, PArijb-
                Pritft, or Curate, or any lawful Priejl, preparin,~, raying, doing, iinging, mi·
                nijlri,ijg or celebrating the Mafs, or otherfoch divine Service, Sacraments, or
                Sacramentals, as WIlS moft cOlllmm/y frequented and uftd in the la{l Tear of the
                Reign of the late Sovereign Lord King Henry the eight, or that at any Time
                hereafter foolila be allowed, fet forth, or fluthorized by the Oltun'l Majefly; or
                 if an, Per/on or Perfons flaO unlawfully, contemptuoujl1, or malicioujlYt of their
                 O'vn Power or authority, pull dOlrn, deface, fpail, or otherwife break any Allar or
                 A/tars, or any Crucifiv'{, or ero[s, in an) ~hurch, Chapel, or Church-yard;
                 every (uch Offinder anti Offenders, his or their Aide,s, Procllrers, or Abetlors,
                 rN"Y be apprehended by any Con{!Able, or Church-warden of the Place where
                 fuch Offince foall be committed. or hy any otlfer Ol/h'er or Perfon then being pre{JIlt
                 at the Time of the (aid Offence; and being fo IIpp,-ehended,{hall be brought before
                 flme Juftice of Peace hy whom they (h.Jll be committed forthwith, and within fix
                  Days the Matter flail be examined by the fame, together with [orne other Ju-
                 ftJces; lind on Proof by two Witneffis or Conit'j}ion, the Offender/hali he committed
                 for three Months, and alfo ti/l the next Q.uarter-Sej}ions, where if they repent.
                  they JbaJl be difcharge4 upon giving Sureties fir their good Behaviour for a relSr,
                  and if they do not npel1t they /hall be committed till they do.
:t Jon. 159-       . Scfl. 30. It hath been rcColved, That the Dillurbance of a Minifier
Coo. Aleyn
~o.
                   in faying the preCent Common Prayer is within this Statute;, for the ex-
 :2 Bullt 51,      prefs mention of Cuch Divine Service, as fhouJd afterwards' be au-
                   thorized by ~een Mary, doth implicitly include fuch alfo as fuould he
                   authorized by her Succelfors; for fince the King never dies, a Preroga-
                   tive given generalJy to one, goes of Courfe to others.
                      Stit. 11. Alfoit is enacted by I WiO. and Mar. 18. Par. 19. That if
                   Any Perfon {hall willingly and of Purpo{e, mtflicioujly or conumptuoNJll cO.me into
                   any Cathedral or Parlfb .Church, Chapel, or other Congregation permittea h] tbe
                  flid At1, aud t/i{quiet or dijlurb the fame, or m111Je an] Preacher or Teacher,
                  INch p( rfans, upon Proof 6ejore 4ny Jupiee' of Peact, by two or more fufficient
                   Witnejfos, ~ali find two Sureties ttJ be bound hy Recogmzance in the penal Sum
                   of Ifty Pounds, and on Default of filth SNreties {haD be committed to Prifon,
                   there to remain tifl the »txt General or Q..u/ltte,-SeJjiofJS~ anti 'upon Ccnvi?Jion of
                   the {aid Offince at the {aid General ()r Qyarur-S1/ions, /halt fuff,r the Pain and
                    Penalty oftwent] P'Nnds.                                       ,      ."




                                   C HAP. LXIV.
                              Of Forcible Entries and Detainers.
Lamb. 135". Sefl.
Dalt. cap. 76.    .
                     I.ITree~ms that attl~e Common Law a Man difleifed of any Lands,
                        or 1 enements, (If he could not prevaHbyfair Means) miotic
Crom·70,a.b. lawfully regain. [h~ Po~!flOn. thereof by _Force, unlefs he were put t~ a
              Necefficyof bunging Ius Acbon, by havmg neglelted to re-enter in due
Kellw.91.     Time %• And it feems ~ertain, That ev~n ~t this Day, he who is wrong..
Yelv. '12.    ~ully dlfpoffeffed of lus Good~, may )u(bfy the re-taking of them by
              Force f-rom the Wrong-doer, If he refuCe to re.deliver them· for the
              V 101ence which happens through the Refiftance of the wrongfu!'PoiTeifor,
                         I                                                       being
